         Case 1:19-cr-00018-ABJ Document 120 Filed 05/30/19 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,



v.

ROGER J. STONE, JR.,

            Defendant.
______________________________


  DEFENDANT ROGER STONE’S SUPPLEMENTAL EXHIBIT 4 TO MOTION TO
DISMISS PURSUANT TO FEDERAL RULE OF CRIMINAL PROCEDURE 12(b)(3)(B)
                           (DOC. # 72)

       Pursuant to this Court’s request made on May 30, 2019, Defendant is filing a

supplemental exhibit to its Motion to Dismiss (Doc. 72) originally submitted to this Court on

April 12, 2019. Exhibit 4 is a letter dated May 9, 2017 requesting Defendant Stone’s voluntary

testimony at a hearing conducted by the House Permanent Select Committee on Intelligence and

the parameters of HPSCI’s investigation. In particular, this exhibit relates to statements made on

page 6 of Doc. 72 and should be read in conjunction with Exhibit 3.


                                                Respectfully submitted,

                                                By: /s/_______________


                                                  BRUCE S. ROGOW
 L. PETER FARKAS                                  FL Bar No.: 067999
 HALLORAN FARKAS + KITTILA, LLP                   TARA A. CAMPION
 DDC Bar No.: 99673                               FL Bar: 90944
 1101 30th Street, NW                             BRUCE S. ROGOW, P.A.
 Suite 500                                        100 N.E. Third Avenue, Ste. 1000
        Case 1:19-cr-00018-ABJ Document 120 Filed 05/30/19 Page 2 of 3




Washington, DC 20007                   Fort Lauderdale, FL 33301
Telephone: (202) 559-1700              Telephone: (954) 767-8909
Fax: (202) 257-2019                    Fax: (954) 764-1530
pf@hfk.law                             brogow@rogowlaw.com
                                       tcampion@rogowlaw.com
                                                   Admitted pro hac vice

ROBERT C. BUSCHEL                      GRANT J. SMITH
BUSCHEL GIBBONS, P.A.                  STRATEGYSMITH, PA
D.D.C. Bar No. FL0039                  D.D.C. Bar No.: FL0036
                                       FL Bar No.: 935212
One Financial Plaza, Suite 1300        401 East Las Olas Boulevard
100 S.E. Third Avenue                  Suite 130-120
Fort Lauderdale, FL 33394              Fort Lauderdale, FL 33301
Telephone: (954) 530-5301              Telephone: (954) 328-9064
Fax: (954) 320-6932                    gsmith@strategysmith.com
Buschel@BGlaw-pa.com


CHANDLER P. ROUTMAN
D.D.C. Bar No. 1618092
1501 East Las Olas Blvd., Suite 331
Fort Lauderdale, FL 33301
Tele: 954-235-8259
routmanc@gmail.com
         Case 1:19-cr-00018-ABJ Document 120 Filed 05/30/19 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 30, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.


                                               ___/s/ Chandler Routman_______________
                                                     Chandler P. Routman

     United States Attorney’s Office for the
             District of Columbia

 Jessie K. Liu
 United States Attorney
 Jonathan Kravis
 Michael J. Marando
 Assistant United States Attorneys
 Adam C. Jed
 Aaron S.J. Zalinsky
 Special Assistant United States Attorneys
 555 Fourth Street, NW
 Washington, DC 20530
 Telephone: (202) 252-6886
 Fax: (202) 651-3393
